Case 2:05-cr-20174-SH|\/| Document 11 Filed 08/11/05 Page 1 of 2 Page|D 16

sara ;{."/
UNITED sTATEs DISTRICT CoURT L " B-C-

wEsTERN DISTRICT oF TENNEssEE 05 AUG l l PH .
Eastern Division [*' 23

   
 

UNITED s'rATEs oF AMERICA CLEH§i,i ` § §§%Uq§
`,$llr"\} l l ' 7 l
mm i;|§-v._ip[k£|n
-vs- ease No. 2:05¢r20174-001Ma °
PATRICK ALEXANDER

 

ORDER OF DETENT|ON PEND|NG TR|AL
FIN D|NGS
In accordance with the Bail Reform Act, 18 U.S.C. § 3142(£), a detention hearing has been
held. T he following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

D|RECTIONS REGARDlNG DETENT|ON

PATRICK ALEXANDER is committed to the custody of the Attorney General or his designated
representative for confmement in a corrections facility separate, to the extent practicable, from persons awaiting or
sewing sentences or being held in custody pending appeal. PATRICK ALEXANDER shall be afforded a reasonable
opportunity for private consultation with defense counsel. On order of a Court of the United States or on request of an
attorney for the government, the person in charge of the corrections facility shall deliver the Defendant to the United
States marshal for the purpose of an appearance in connection with a Court proceeding

,___..
Dare: August 11, 2005 é. ii'lmAdé¢-`LMJ

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

with R\li

//

: .| l x x F
UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number ll in
case 2:05-CR-20174 Was distributed by faX, mail, or direct printing on
August 15, 2005 to the parties listed.

 

 

Frederick H. Godwin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Sarnuel Mays
US DISTRICT COURT

